

Matter of Tallon (2025 NY Slip Op 02125)





Matter of Tallon


2025 NY Slip Op 02125


Decided on April 10, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 10, 2025

PM-91-25
[*1]In the Matter of Daniel John Tallon, an Attorney. (Attorney Registration No. 1703131.)

Calendar Date:March 31, 2025

Before:Egan Jr., J.P., Clark, Pritzker, Lynch and Fisher, JJ.

Daniel John Tallon, Placitas, New Mexico, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Daniel John Tallon was admitted to practice by this Court in 1981 and lists a business address in Placitas, New Mexico with the Office of Court Administration. Tallon now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Deputy Chief Attorney, and Tallon has submitted a supplemental affidavit in reply.
As is noted by AGC, Tallon is presently delinquent in his New York attorney registration requirements, having failed to register for the 2024-2025 biennial period (see Judiciary Law § 468-a; Rules of Chief Admr of Cts [22 NYCRR] § 118.1). Inasmuch as Tallon is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Prof Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [3d Dept 2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [3d Dept 2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [3d Dept 2017]). Further, any future application by Tallon must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [3d Dept 2017]).
Egan Jr., J.P., Clark, Pritzker, Lynch and Fisher, JJ., concur.
ORDERED that Daniel John Tallon's application for permission to resign is denied.








